                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
SK/RCH/EMR/PP/MD                                  271 Cadman Plaza East
F. #2019R00927                                    Brooklyn, New York 11201


                                                  February 14, 2022

By ECF

The Honorable Brian M. Cogan
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Genaro Garcia Luna
                     Criminal Dkt. No. 19-576 (BMC) .

Dear Judge Cogan:

               The parties respectfully submit this written status update to the Court in the
above-captioned matter. The parties respectfully request that the Court adjourn the upcoming
status conference scheduled for February 16, 2022 for three weeks and respectfully request a
date of either March 3, 2022 and March 4, 2022. The parties agree that an order of excludable
delay is appropriate based on the Court’s previous complex case designation in this matter.

              In addition, the parties respectfully write to update the Court on the following
issue:

    Discovery

          o The government continues the process of collecting and reviewing discovery for
            production to the defendant on a rolling basis. Following the parties’ last status
            letter on December 15, 2021, the government made an additional discovery
            production on February 11, 2022, totaling more than 64,000 pages of
            documents. See Dkt. No. 83.

          o The government also is awaiting responses from outstanding subpoenas. In
            addition, the government has submitted MLAT requests for foreign evidence.
            Although the government has received some responsive information, it is
            awaiting additional MLAT responses.

          o To date, the government has produced more than 1 million pages of documents
            and records. The government has produced the vast majority of the discoverable
               material in its possession. It expects to make smaller productions on a rolling
               basis as it receives additional discoverable materials and/or identifies such
               material in its possession.

       Trial Schedule

            o Prior to the next status conference, the parties intend to confer regarding a
              proposed pre-trial schedule for any necessary motions, disclosure of material
              pursuant to 18 U.S.C. § 3500, juror questionnaires, and any other necessary
              matters. Upon an agreement of the parties, the parties will advise the Court
              accordingly of a proposed schedule.


                                                  Respectfully submitted,

                                                  BREON PEACE
                                                  United States Attorney

                                           By:      /s/
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                                                  Erin M. Reid
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cc:      Cesar de Castro, Esq. (by ECF)
         Clerk of the Court (BMC) (by ECF)




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